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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,



                              Plaintiff,

                                                         DECISION AND ORDER

                                                         05-CR-6161L

                   v.

JOHN NICOLO, et al.,



                              Defendants.
________________________________________________


EASTMAN KODAK COMPANY,



                              Plaintiff,



                   v.                                    05-CV-6384L



JOHN NICOLO, et al.,



                              Defendants.

___________________________________________________
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       By order entered April 11, 2007, I scheduled argument on several motions before me and

Magistrate Judges Jonathan W. Feldman and Marian W. Payson. The Court scheduled argument

on the motion to change venue in the criminal case and the motion to stay the civil action pending

resolution of the criminal case. The balance of defendant Nicolo’s omnibus motions were scheduled

before Magistrate Judge Feldman later the same day and plaintiff’s motion to compel in the civil

action was scheduled later that day as well, before Magistrate Judge Payson.

       By letter dated May 1, 2007, counsel for defendant John Nicolo seeks to adjourn all motions

at least until June 6, 2007. The Government has filed no opposition to the motion. Counsel for

plaintiff, Eastman Kodak, does object to an adjournment.

       The basis for the adjournment is twofold. First, a conflict issue has arisen now that

Constance Roeder has been added as a defendant in the criminal case. At this point, counsel for

Nicolo seeks to also represent defendant Roeder. The matter has been discussed on several occasions

before Magistrate Judge Feldman and Ms. Roeder was directed to obtain conflict counsel.

       The matter is scheduled for a Curico hearing before Magistrate Judge Feldman on June 6.

In his letter of May 1, 2007, counsel for Nicolo suggests that until the conflict matters are resolved,

argument on any motions is premature.

       The second reason for the requested adjournment is the fact that there has been a change of

counsel for co-defendant Charles Schwab. Schwab’s new counsel has just entered the case and has

been given until May 24, 2007 to review discovery and advise the Court as to the time needed to file

motions.

       After reviewing the submissions, I believe an adjournment of the motions from Friday May

4, 2007 is warranted. Although this Court and the Magistrate Judges are certainly prepared to hear


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the pending motions, it does seem appropriate in light of the conflict issue and the new lawyer for

co-defendant Schwab to delay argument on the pending motions for a time.

       It is important that the conflict issue be resolved promptly and the parties should be prepared

to deal with and conclude that matter on June 6, 2007. There will be no adjournments, absent

extraordinary cause.

       The attorneys for the parties are directed to appear before this Court after their appearance

before Magistrate Judge Feldman on June 6, 2007, to schedule the outstanding motions. By then

the conflict issue should be resolved and the Court should have a good estimation from Schwab’s

new counsel concerning motions on his behalf. Thereafter, after the Curcio matter is resolved, the

Court, as well as Magistrate Judges Feldman and Payson, will discuss with counsel, on June 6, 2007,

the rescheduling of the pending motions.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       May 2, 2007.




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